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                       UNITED STATES BANKRUPTCY COURT
                   DISTRICT OF SOUTH CAROLINA (CHARLESTON)

________________________________
IN RE:                           )
                                 )
JACQUELINE ELIZABETH ARD and )             Case No. 24-03611-jd
TERRY FRANK NICOLA               )         Chapter 13
       Debtors.                  )
________________________________ )
  CREDITOR’S OPPOSITION IN RESPONSE TO DEBTORS’ AMENDED MOTION
       FOR DAMAGES (DOCKET ENTRY NO. 87) FILED JANUARY 27th, 2025

      NOW COMES the Creditor, Estate at Westbury Owners Association, Inc., (hereinafter

“EAW”) by and through its counsel, and to the extent required, on behalf of all parties so

named, who hereby files this Opposition in Response to Debtors’ Amended Motion for

Damages (Docket Entry No. 87) Filed January 27th, 2025, modified and re-docketed by the

Court on February 1st, 2025 as docket no. 90, as follows:

      1. Debtors filed the above-referenced Chapter 13 case pro se on October 4th, 2024.

      2. The docket reflects that the matrix information uploaded to the case by the pro se

          Debtors on October 4th, 2024 (docket entry no.8, (9 pages), docket entry no 9, (1

          page)) fails to include and/or notice EAW as a creditor in the matter.

      3. After the case was dismissed for failure to file information timely on November 21st,

          2024 and the case administratively terminated on December 9th, 2024, the Debtors

          filed a motion for damages as to EAW on January 10th, 2025 referencing several

          alleged instances whereby a creditor would be in violation of the automatic stay,

          provided that the creditor receives notice. After receiving EAW’s initial response in

          opposition, they then filed an Amended Debtor’s Motion for Additional Damages

          Based On Contempt on January 27th, 2025, docket entry no. 87, which was
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         administratively modified by the Court on February 1st, 2025 as docket entry no. 90.

         Additionally, on January 31st, 2025, they filed another pro se Chapter 13 proceeding

         in the Eastern District of Michigan, docket no. 25-40952-mlo.

      4. While Debtors’ matrix documents referenced above, filed concurrently with the

         case, does name and specifically references notice to collection counsel to EAW,

         Evan Bromley, who was handling the foreclosure of Debtors’ real property in the

         estate located at EAW, it did not provide appropriate or proper notice to EAW itself,

         and as such, EAW was not aware of the stay in the initial instance. As indicated in

         the response filed by Attorney Bromley in this matter, steps were immediately

         promptly taken by his office to cease collection efforts against the real property

         owned by the Debtors in the collection matter he handled for EAW upon receipt of

         said notice.

      5. Debtors’ amended motion, which states on its face in Paragraph 3 that it is an

         adversary proceeding (which it is not), further fails to name EAW as the party who

         violated the stay, but rather specifically names the EAW board members,

         individually, Attorney Evan Bromley, and the undersigned, who did not violate the

         stay but instead upon notice of same, correctly and promptly took affirmative action

         to terminate the pending collection action and/or other actions as to Debtors, to

         ensure that, if applicable, the stay was not violated as a result of same.

      6. Pursuant to applicable state law, codified as S.C. Ann. Code 33-36-660, board

         members of corporations not for profit are immune from suits arising from the

         conduct of the affairs of the corporation, unless conduct amounts to wilful, wanton,

         or gross negligence. Id. In this case, Debtors original and amended motions
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         respectfully fail to allege conduct of the individual board members that overcomes

         this burden for purposes of suing them individually, and has appended an exhibit

         referencing only that in a board meeting regarding decal revocation of the alleged

         estate vehicle asset, meeting minutes were made in the course of their administrative

         board member duties to address ongoing violations of the governing documents of

         EAW, in the normal course.

      7. While a creditor who knowingly and deliberately takes action against a debtor’s

         property or attempts to collect a debt, despite being aware that the debtor has filed

         for bankruptcy and is protected by the automatic stay provision, is in violation of the

         automatic stay, here, it is unclear due to the Debtors’ omission of EAW from its

         initial creditor matrix whether EAW properly received notice of the filing such that

         the Debtors have met their burden of proof regarding EAW’s knowledge of the

         filing, and also whether the vehicle in question is in fact part of the pro se Debtors

         bankruptcy estate. And though EAW does later appear in the creditor label matrix, it

         is unclear when said address was added by Debtors as a creditor in the action for

         notification purposes.

      8. Additionally, after a review of Beaufort County tax assessor and property tax

         records, it does not appear that the vehicle in question, a 2020 RAM Pro Master

         1500 Commercial Van with a VIN number ending in 3289 is registered to Ms. Ard

         and/or Mr. Nicola, who repeatedly avers in their motion that the taking of “her

         vehicle” triggered the stay violation provisions, such that EAW’s actions with regard

         to the property would be in violation of the automatic stay. In fact, on Ms. Ard’s

         schedules A/B filed with the Court, it appears that she may own this property jointly
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         with a third party. To date, Ms. Ard has failed to produce any evidence, in either her

         original motion and/or the amended motion filed, conclusively establishing which

         state issued the vehicle in question’s registration documents, provide documents

         concerning the title holder of the vehicle and/or provide documentation as to which

         creditor has a lien against said vehicle, and specifically as to whom.

      9. Additionally, Debtor, who was required pursuant to EAW’s governing documents to

         provide current vehicle registration information as to the vehicles she sought

         issuance of parking decals from EAW, failed to provide any vehicle registration

         information for the vehicle at issue in her amended motion, instead only providing

         EAW with information regarding another RAM Promaster with a VIN number

         ending in 4790, which is not at issue in this matter. See attached Exhibit A.

      10. Regardless of the above, when general counsel to EAW was made aware of a tow

         action as to Ms. Ard’s alleged vehicle on or around November 11th, 2024, initiated

         by EAW, after failing to receive formal notice but confirming that Ms. Ard was in

         fact in a pending bankruptcy, EAW promptly returned the vehicle to Ms. Ard on the

         morning of November 14th, 2024 and paid all costs associated with its removal,

         storage and towing, at no expense to Ms. Ard.

      11. It was at this time that general counsel to EAW also checked with the Secretary of

         State’s office to verify EAW’s registered agent, and immediately took steps to file

         corrected information with same, and informed Ms. Ard via email of said

         notification address change. See attached correspondence as Exhibit B.

      12. Further, after being notified of the bankruptcy, EAW took no further action against

         the purported personal and/or real property of Ms. Ard until such time as the case
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         was dismissed.

      13. To date, Ms. Ard has not provided any documentation evidencing that EAW, via its

         original registered agent and/or the corrected agent as of November 14th, 2024, was

         properly provided notice of the bankruptcy filing at any time, prior to that call or

         after the fact.

      14. Regardless, Debtor, having admitted knowledge of the email address and the notice

         address provided to her by email by the undersigned as referenced by Exhibit B

         hereto, the Certificate of Service on the original motion filed on January 10th, 2025

         failed to incorporate the proper corrected notice address of EAW’s agent and/or

         electronically notify counsel to EAW as requested in the November 2024

         correspondence to Debtor Ard of the motion filed. Only in the subsequently

         Amended Motion filed by Debtors was service corrected and proper.

      15. Given the above, even if the Debtor is able to show that the vehicle is somehow a

         part of the original bankruptcy estate and/or is owned in some capacity by her or her

         co-debtor personally, despite having failed to produce any current registration

         information, with any municipality, EAW respectfully shows to this Honorable

         Court that it did not commit a willful violation of the automatic stay as to assets of

         the estate, and prays that the Court dismiss the motion for damages filed by Debtors

         on January 10th, 2025, later amended on January 27th, 2025 and redocketed by the

         Court on February 1st, 2025, given not only that no stay violation occurred due to

         lack of notice, but that even if said violation occurred, it was not willful, nor was it

         conclusively related to assets within the bankruptcy estate such that a violation of the

         stay occurred at all.
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      16. Additionally, due to the fact that the Debtors were dismissed on November 21st,

         2024, the case was administratively terminated on December 9th, 2024, and EAW’s

         registered agent at the time again did not receive notice of the motion filed by

         Debtors on January 10th, 2025 despite communicating all service information for

         EAW electronically and by regular mail to Debtors in this case, EAW respectfully

         shows to this Honorable Court that despite such deficiencies it has timely and

         properly complied with all applicable law and local rules required by this Court to

         respond to same.

      17. Further, as Debtors subsequently filed yet another pro se Chapter 13 bankruptcy on

         January 31st, 2025 in the Eastern District of Michigan, docket no. 25-40952-mlo,

         which was dismissed by the Court on March 3rd, 2025 and terminated on March 6th,

         2025 (also for failure to file information), there was another stay violation issue in

         that case if EAW were to have filed a response to the Amended Motion in this case.

         Given the secondary bankruptcy filing, EAW engaged counsel in Michigan as to its

         rights against the Debtors, and was advised to wait until such time as the Michigan

         Court held hearings and/or ruled dispositively as to the Debtors’ right to proceed in

         that jurisdiction with regard to same, which occurred last week.

      18. Here, as it is a fundamental, underlying principle of a good faith bankruptcy filing to

         give the honest but unfortunate debtor a remedy to discharge certain debts, it bears

         noting that such relief is only afforded to those that avail themselves of same by in

         turn fully and promptly disclosing all assets, liabilities and creditors in their filings

         with the Court, with proper notice of same to parties in interest, and further that they

         fully cooperate with the bankruptcy process.
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      19. Here, respectively, these pro se Debtors, who have repeatedly filed bankruptcies in

         multiple jurisdictions and been subsequently dismissed for failing to cooperate with

         the bankruptcy process as provided on both dockets, this is not an instance where the

         Debtors timely provided sufficient notice of their filing(s) to EAW, nor did they

         provided all information concerning their estate to parties in interest and/or the

         Court, and/or honestly complied with EAW’s own governing documents regarding

         registration for vehicles on property prior to the initiation of this instant case.

      20. Further, given that upon actual notice to EAW’s general counsel, the alleged estate

         asset was promptly returned at no cost to the Debtors, Debtors have failed to meet

         their burden of proof showing that EAW definitively knew of the asset in the

         bankruptcy filing for purposes of meeting the definition of willful, nor have they

         shown that EAW continued to pursue actions against the Debtors in this case after

         that time, and/or proven that the actions of EAW caused Debtors damage.

      21. Rather, Debtors, who appear to have misrepresented their circumstances in their

         initial filings to both this Honorable Court and/or all parties in interest listed on the

         schedules they did file, not only suffered no actual damages in the form of monetary

         amounts having to be paid as a result of the conduct they complain of as to EAW,

         but also may have purposefully failed to file documents in the timeframe leading up

         to the dismissal of this case for purposes of allowing any party to conclusively

         determine what was in the estate, e.g. what assets they specifically individually own

         and/or which entities they owe concerning said assets.

      22. In light of the above, EAW, through the undersigned, respectfully avers that these

         Debtors, pursuant to the particular facts shown and/or incorporated herein by
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          reference, should not now benefit from their purposeful failure to comply with the

          process as outlined in the Bankruptcy Code (in that they have repeatedly failed to

          promptly file documents, giving rise to this case’s dismissal as well as the

          subsequent case they filed in the Eastern District of Michigan), such that they should

          now be afforded the relief they seek by having their amended motion granted.

      23. Instead, for the foregoing reasons, EAW respectfully requests that this Honorable

          Court enter sanctions against them pursuant to Rule 9011 in the form of having them

          pay reasonable attorney fees and costs to EAW concerning their motions filed in this

          case, due to purposeful misrepresentations contained in their pleadings and

          schedules filed (or not filed timely with this Court and others), and also in light of

          their subsequent filing of the above-referenced claims against EAW for improper

          purposes and/or without evidentiary support.

      WHEREFORE, the Debtor requests this Honorable Court grant this Opposition in

response and deny the Amended Motion for Damages filed by Debtors with prejudice, and if it

please the court, enter sanctions against the Debtors pursuant to Rule 9011 in the form of

reasonable attorney fees and costs in defense of this action by EAW, and for any such further

relief as this Honorable Court deems just and proper.

                                                 Respectfully Submitted,
                                                 Estate at Westbury Owners Association, Inc.
                                                 By its counsel,

Dated: 3/10/2025                                  /s/ Julie A. Franklin
                                                 Julie A. Franklin, Esq. SC Fed Id: 13933
                                                 Post Office Drawer 2976
                                                 Bluffton, SC 29910
                                                 (706) 452-1303
                                                  jfranklinlegal@gmail.com
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________________________________
IN RE:                           )
                                 )
JACQUELINE ELIZABETH ARD and )                                Case No. 24-03611-jd
TERRY FRANK NICOLA               )                            Chapter 13
       Debtors.                  )
________________________________ )


                               CERTIFICATE OF SERVICE

      I, Julie A. Franklin, state that on March 10th, 2025, I electronically filed the foregoing
document with the United States Bankruptcy Court for the District of South Carolina
(Charleston) on behalf the Creditor, Estate at Westbury Owners Association, Inc., using the
CM/ECF System. I served the foregoing document on the following CM/ECF participants:

James M. Wyman
US Trustee’s Office

I certify that I have mailed by first class mail, postage prepaid, the documents electronically filed
with the Court on the following non CM/ECF participants:


                                     Jacqueline Elizabeth Ard
                                        239 Beach City Rd
                                            Unit 3218
                                      Hilton Head, SC 29926

                                        Terry Frank Nicola
                                      663 William Hilton Pky
                                            Unit 4408
                                      Hilton Head, SC 29928

                                                   Respectfully Submitted,
                                                   Estate at Westbury Owners Association, Inc.
                                                   By its counsel,

 Dated: 3/10/2025                                   /s/ Julie A. Franklin
                                                   Julie A. Franklin, Esq. SC Fed Id: 13933
                                                   Post Office Drawer 2976
                                                   Bluffton, SC 29910
                                                   (706) 452-1303
                                                   jfranklinlegal@gmail.com
